Case 1:05-cr-20008-PCH Document 33 Entered on FLSD Docket 07/07/2008 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORlDA

CASE NO.:OS-CR-ZOOOB-CR-HUCK
UNITED STATES OF AMERICA,
Plaintiff,
vs.

ELLINGTON OSBORNE
Defendant.

/

ORDER GRANTING DEFENDANT’S SECOND RE-FILED MOTION TO TERMINATE
SUPERVISED RELEASE

THIS MATTER came before the Court by virtue of the Defendant’s Second Re-flled Motion
to Terminate Supervised Release (D.E. #31) filed on June 30, 2008. After careful consideration of
the Defendant’s Motion, and U.S. Probation Memorandum, it is hereby,

ORDERED AND ADJUDGED that the Defendant’s Motion is GRANTED. Thus, the
Defendant’s term of supervised release is terminated

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DONE AND ORDERED in chambers in Miami, Florida this Z_ day of July, 2008.

 

U.S. DISTRICT COURT JUDGE

cc: All counsel of record

